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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    NED SMOCK, Bar # 236238
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     JEREMIAH URCH
6
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )   No. 2:07-cr-00036-MCE
                                        )
12                    Plaintiff,        )
                                        )   STIPULATION AND ORDER
13        v.                            )
                                        )
14   ANDREA WEATHINGTON; and            )
     JEREMIAH URCH,                     )   Date: March 19, 2008
15                                      )   Time: 9:00 A.M.
                                        )   Judge: Hon. Morrison C. England
16                                      )
                    Defendants.
17   _______________________________
18
19        IT IS HEREBY STIPULATED by and between the parties hereto through
20   their respective counsel, ROBIN TAYLOR, Assistant United States
21   Attorney, attorney for Plaintiff; ROBERT HOLLEY, attorney for defendant
22   Andrea Weathington; and NED SMOCK, Assistant Federal Defender, attorney
23   for defendant Jeremiah Urch, that the current Status Conference date of
24   February 21, 2008 be vacated and a new date of March 19, 2008 be set
25   for status/change of plea.     The defendants are performing ongoing
26   investigation.   In addition, both counsel are working towards reaching
27   a resolution, and need time to discuss possible disposition with the
28   defendants.
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1          It is further stipulated and agreed between the parties that the
2    period between February 21, 2008 and March 19, 2008, should be excluded
3    in computing the time within which the trial of the above criminal
4    prosecution must commence for purposes of the Speedy Trial Act for
5    defense preparation.       All parties stipulate and agree that this is an
6    appropriate exclusion of time within the meaning of Title 18, United
7    States Code, Section 3161(h)(8)(iv) (Local Code T4).
8    Dated: February 20, 2008
                                               Respectfully submitted,
9
                                               DANIEL J. BRODERICK
10                                             Federal Defender
11                                                  /s/ Ned Smock
                                               NED SMOCK
12                                             Assistant Federal Defender
                                               Attorney for Defendant
13                                             JEREMIAH URCH
14   Dated:    February 20, 2008               /s/ Ned Smock for Robert Holley
                                               ROBERT HOLLEY
15                                             Attorney for Defendant
                                               ANDREA WEATHINGTON
16
                                               MCGREGOR W. SCOTT
17                                             United States Attorney
18   Dated:    February 20, 2008
                                               /s/ Ned Smock for Robin Taylor
19                                             ROBIN TAYLOR
                                               Assistant U.S. Attorney
20
                                             ORDER
21
     IT IS SO ORDERED.
22
23    Dated: February 21, 2008

24
                                             _____________________________
25                                           MORRISON C. ENGLAND, JR.
26                                           UNITED STATES DISTRICT JUDGE

27
28


     Stipulation & Order                       2
